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EXHIBIT A

Cure Costs

 

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EXHIBIT B

Asset Purchase Agreement

 

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EXECUTION VERSION

 

ASSET PURCHASE AGREEMENT
BY AND AMONG
BARFLY VENTURES, LLC,
EACH OF THE OTHER SELLERS PARTY HERETO
AND
PROJECT BARFLY LLC

July 9, 2020

 

STRICTLY PRIVATE AND CONFIDENTIAL DRAFT FOR DISCUSSION PURPOSES
ONLY. CIRCULATION OF THIS DRAFT SHALL NOT GIVE RISE TO ANY DUTY TO
NEGOTIATE OR CREATE OR IMPLY ANY OTHER LEGAL OBLIGATION. NO LEGAL
OBLIGATION OF ANY KIND WILL ARISE UNLESS AND UNTIL A DEFINITIVE

WRITTEN AGREEMENT IS EXECUTED AND DELIVERED BY ALL PARTIES
HERETO.

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ASSET PURCHASE AGREEMENT

This ASSET PURCHASE AGREEMENT (this “Agreement’’) is entered into as of July 9,
2020, by and among BARFLY VENTURES, LLC (“BarFly Ventures”), individually and as
Sellers’ Rep; 9 VOLT, LLC; 50 AMP FUSE, LLC; EL BREWPUB, LLC; GRBC HOLDINGS,
LLC; HOPCAT-ANN ARBOR, LLC; HOPCAT-CHICAGO, LLC; HOPCAT-CONCESSIONS,
LLC; HOPCAT-DETROIT, LLC; HOPCAT-GR BELTLINE, LLC; HOPCAT-HOLLAND,
LLC; HOPCAT-INDIANAPOLIS, LLC; HOPCAT-KALAMAZOO, LLC; HOPCAT-KANSAS
CITY, LLC; HOPCAT-LEXINGTON, LLC; HOPCAT-LINCOLN, LLC; HOPCAT-
LOUISVILLE, LLC; HOPCAT-MADISON, LLC; HOPCAT-MINNEAPOLIS, LLC;
HOPCAT-PORT ST. LUCIE, LLC; HOPCAT-ROYAL OAK, LLC; HOPCAT-ST. LOUIS,
LLC; and LUCK OF THE IRISH, LLC (each of the foregomg, mdividually a “Seller” and
sometimes collectively, the “Sellers” or, sometimes individually a “Debtor” or collectively, the
“Debtors”), and Project BarFly LLC, a Delaware limited liability company (together with its
permitted successors, designees and assigns, “Buyer’”). The Sellers and Buyer are referred to
collectively herein as the “Parties.” Capitalized terms used but not otherwise defined herein shall
have the meanings assigned to them in Article I.

RECITALS

WHEREAS, Sellers are in the business of operating restaurants, brewery restaurants and
bars in numerous states (collectively, but excluding the Excluded Restaurants and the assets and
Liabilities directly related thereto, the “Business”’);

WHEREAS, on June 3, 2020, Sellers filed voluntary petitions for relief (the “Chapter 11
Cases”) pursuant to Chapter 11 of Title 11 of the United States Code, 11 U.S.C. §§ 101 ef seq.
(the “Bankruptcy Code”) mn the United States Bankruptcy Court for the Western District of
Michigan (the “Bankruptcy Court”);

WHEREAS, upon the filings of such Chapter 11 Cases, Sellers continued in possession
of their assets and were authorized under the Bankruptcy Code to continue the operation of their
businesses as debtors-in-possession;

WHEREAS, certain of the Sellers entered into a Credit Agreement as borrowers, dated as
of August 31, 2015, with the lenders party thereto, as lenders (the “Credit Agreement Lenders”),
CIP Admmistrative, LLC, as admmistrative agent for the Credit Agreement Lenders (as
amended, restated, amended and restated, supplemented or otherwise modified from time to
time, the “Credit Agreement” and, together with the other Loan Documents (as therem defined),
the “Credit Agreement Loan Documents”’);

WHEREAS, on or about March 20, 2020, to comply with business closure mandates
imposed by governmental authorities as a result of the COVID-19 outbreak, the Sellers ceased
operating all of their restaurants and furloughed nearly all of their employees;

WHEREAS, Sellers desire to sell, transfer and assign to Buyer, and Buyer desires to
acquire and assume from Sellers, pursuant to Sections 363 and 365 of the Bankruptcy Code, the
Purchased Assets and the Assumed Liabilities upon the terms and subject to the conditions set
forth herein;

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WHEREAS, in connection with the Closing, and as a material nducement to Buyer’s
willmgness to enter mto this Agreement, Ned Lidvall has executed, or will execute, an
employment agreement (in form acceptable to the Buyer) that by its terms is to become effective
as of the Closing;

WHEREAS, Sellers intend to seek the entry of the Sale Order by the Bankruptcy Court |
approving this Agreement and authorizing Sellers to consummate the Contemplated Transactions
upon the terms and subject to the conditions set forth herein and in the Sale Order;

WHEREAS, the board of directors or the managing members of each Seller has
determined that it is advisable and in the best interests of each such Seller’s estate and the
beneficiaries of such estates to consummate the Contemplated Transactions provided for herein
pursuant to the Sale Order and has approved this Agreement; and

WHEREAS, the Contemplated Transactions are subject to the approval of the
Bankruptcy Court, subject to any higher and better offers that may be made for the Purchased
Assets prior to or at the Sale Hearing, and will be consummated only pursuant to the Sale Order
to be entered by the Bankruptcy Court.

NOW, THEREFORE, in consideration of the mutual promises herein made, and in
consideration of the representations, warranties and covenants herein contained, and other good
and valuable consideration, the receipt and sufficiency of which is hereby acknowledged by the
Parties, the Parties agree as follows:

ARTICLE I
DEFINITIONS

“Accounts Receivable” means (a)all accounts, accounts receivable, Credit Card
Receivables, contractual rights to payment, notes, notes receivable, negotiable instruments,
chattel paper, and vendor and supplier rebates of Sellers m connection with the Business as
conducted by the Sellers, and (b) any security mterest, claim, remedy or other right related to any
of the foregoing.

“Affilate” means, with respect to any Person, any other Person that, directly or indirectly
through one or more intermediaries, controls, or is controlled by, or is under common control
with, such Person, and the term “control” (imcluding the terms “controlled by” and “under
common control with”) means, when used with reference to any Person, the possession, directly
or indirectly, of the power to direct or cause the direction of the management and policies of such
Person, whether through ownership of voting securities, by Contract or otherwise.

“Agreement” has the meaning set forth in the preamble.

“Alternate Transaction” means a transaction or series of related transactions pursuant to
which Sellers sell, transfer, lease or otherwise dispose of, directly or indirectly, including
through an asset sale, stock sale, merger, reorganization or other similar transaction (by Sellers
or otherwise), all or substantially all of the Purchased Assets (or agrees to do any of the
foregoing) mn a transaction or series of transactions to a Person or Persons other than Buyer, but

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does not mean the sale of assets to customers conducted in the Ordinary Course of Business or a
piecemeal liquidation of the Purchased Assets through a series of unrelated transactions.

“Assignment and Assumption Agreement” means a duly executed assignment and
assumption agreement, substantially in the form attached as Exhibit_B hereto.

“Assumed Contracts” has the meaning set forth in Section 2.6(b).
“Assumed Liabilities” has the meaning set forth in Section 2.3.

“Assumed Permits” means all Permits relatng to the Business that are transferable in
accordance with their terms and under applicable Law (including, without limitation, those that
are transferable without consent of the issuing entity by virtue of the effect of the Sale Order),
but excluding all Permits (other than Liquor Licenses) to the extent related exclusively to any
Excluded Asset (including any Lease that is not an Assumed Contract).

“Available Cash’ is defined in Section 5.9.

“Available Cash Deficiency Amount” is defned m Section 5.9.

 

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Backstop Amount” is defmed in Section 5.9.

“Bankruptcy Code” has the meaning set forth m the recitals.

“Bankruptcy Court” has the meaning set forth in the recitals.

“Bid Procedures” means bid procedures acceptable to Buyer, which shall, among other
things: (i) schedule an auction for the Busmess (an “Auction”) to be held not later than
August 25, 2020; (ii) schedule the hearing to approve the sale of the Business (the “Sale
Hearing”) to be held not later than August 27, 2020; (iii) require that any sale transaction close
not later than August 31, 2020; (iv) require the Sellers to promptly provide a copy of any
Qualified Bid to Buyer; (v) provide that, at the Auction, the first bid shall be considered only if it
exceeds the amount of the highest Qualified Bid submitted by the Qualified Bidders prior to such
auction by a minimum of any Break-up Fee (if Buyer submitted the highest Qualified Bid) plus
$100,000 (with $100,000 to be the minimum bid increment for each round of bidding); (vi)
authorize the Buyer to bid, at each round of the Auction, the amount of the Break-up Fee; (vii)
provide that no bidder(s) (other than, for the avoidance of doubt, the Buyer in those
circumstances in which it is entitled to a Break-up Fee hereunder) shall be granted a break-up
fee, expense reimbursement, termination payment, or other like compensation at any time during
the sale process or the Auction; and (viii) grant Buyer relief from the automatic stay to enable
Buyer to exercise rights and receive benefits under this Agreement.

“Bid Procedures Motion” means a motion filed by the Sellers with the Bankruptcy Court
requesting the entry of the Bid Procedures Order.

“Bid Procedures Order” means an order of the Bankruptcy Court entered in the
Chapter 11 Cases approving the Bid Procedures in form and substance agreeable to Buyer.

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“Bid Procedures Order Deadline” means July 17, 2020.

“Bill of Sale” means a duly executed bill of sale, substantially in the form attached as
Exhibit_A hereto.

“Break-up Fee” means an amount equal to $525,000.
“Business” has the meaning set forth in the recitals.

“Business Cessation Event” means Sellers’ cessation of its ongoing business on or about
March 20, 2020, as the result of, among other things, the COVID-19 outbreak, and the
accompanying furlough of substantially all of Sellers’ employees.

“Business Day” means any day other than a Saturday, a Sunday or a day on which banks
located in New York, New York shall be authorized or required by Law to close.

“Buyer” has the meaning set forth in the preamble.

“Buyer Released Parties” has the meaning set forth n Section 5.9.

“Cash and Cash Equivalents” means, collectively, cash (including Restaurant Petty Cash
and checks recetved prior to the close of business on the Closing Date), checkmg account
balances, marketable securities, certificates of deposits, te deposits, bankers’ acceptances,
commercial paper, government securities and other cash equivalents or similar cash items of
Sellers, net of (i) Cure Claims to the extent not assumed by Buyer, if any, (ii) administrative
claims incurred through the Closing Date, (ii) the Wind Down Budget, and (iv) uncleared
checks issued by Sellers that are not yet reflected in the applicable bank account of Sellers.

 

“Chapter 11 Cases” has the meaning set forth mn the recitals.

“Claim” means a “claim” as defmed in Section 101(5) of the Bankruptcy Code, whether
arising before or after the Petition Date.

“Closing” means the closing of the Contemplated Transactions, which shall be deemed to
have occurred at 12:01 p.m. (prevailing Eastern Time) on the Closing Date.

“Closing Date” means the second (2nd) Busmess Day after the date on which all
conditions to the obligations of Sellers and Buyer to consummate the Contemplated Transactions
set forth in Article VII (other than conditions with respect to actions Sellers and/or Buyer will
take at the Closing itself, but subject to the satisfaction or waiver of those conditions) have been
satisfied or waived by the Party entitled to waive that condition, or at such other time or on such
other date as shall be mutually agreed upon by Sellers and Buyer prior thereto.

“Consent” means any approval, consent, ratification, permission, clearance, designation,
qualification, waiver or authorization, or an order of the Bankruptcy Court that deems or renders
any of the foregoing unnecessary.

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“Contemplated Transactions” means the sale by Sellers to Buyer, and the purchase by
Buyer from Sellers, of the Purchased Assets and the assumption by Buyer of the Assumed
Liabilities.

“Continuing Restaurant” means any of Sellers’ restaurant locations with respect to which
the associated Leases have been designated by Buyer as Assumed Contracts pursuant to

Section 2.6(b).

“Contract” means any written or oral agreement, contract, lease, sublease, indenture,
mortgage, instrument, guaranty, loan or credit agreement, note, bond, customer order, purchase
order, sales order, sales agent agreement, supply agreement, development agreement, joint
venture agreement, promotion agreement, license agreement, contribution agreement, partnership
agreement or other arrangement, understanding, permission or commitment that, m each case, is
legally-binding.

“COVID-19” means the novel coronavirus disease 2019 caused by severe acute
respiratory syndrome coronavirus 2 (SARS-CoV-2).

“Credit Agreement” has the meanmg set forth m the recitals, as amended, restated,
supplemented or otherwise modified from time to time m accordance with this Agreement.

“Credit Agreement Lenders” means the “Lenders” as such term 1s defined in the Credit
Agreement.

“Credit Agreement Lien Obligations” means all “Obligations” (as defned in the Credit
Agreement).

“Credit Agreement Loan Documents” has the meaning set forth m the recitals.

“Credit Agreement Secured Parties” shall mean Congruent Credit Opportunities Fund III,
LP; Main Street Capital Corporation; and HMS Income Fund, Inc., and the successors and
assignees of such parties.

“Credit Bid” means a bid by Buyer pursuant to Section 363(k) of the Bankruptcy Code
equal to a portion of the Credit Agreement Lien Obligations m the mitial amount of $17,500,000,
and not to exceed $20,000,000.

“Credit Bid And Release” has the meaning set forth in Section 2.5(b).

“Credit Card Liabilities” means all Liabilities and other rights of credit card processors or
other Persons to amounts payable by any Seller (whether current or non-current) in connection
with any customer purchases from any restaurants operated by Sellers in respect of credit or
debit cards to any credit card processors to Sellers. Credit Card Liabilities are Excluded
Liabilities.

“Credit Card Receivables” means all accounts receivable and other rights of Sellers to
amounts owed to any Seller (whether current or non-current) in connection with any customer
purchases from any restaurants operated by Sellers that are made with credit or debit cards or any

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other related amounts owing (including deposits or holdbacks to secure chargebacks, offsets or
otherwise) from credit card processors to Sellers.

“Cure Amounts” has the meaning set forth in Section 2.6(c).

“Current Employees” means all individuals employed by Sellers as of the day before the
Closing Date, whether active or not (including those on short-term disability, leave of absence,
paid or unpaid, or long-term disability).

“Dataroom” has the meaning set forth in Section 4.7.
“Debtor” or “Debtors” has the meaning set forth in the preamble.

“Decree” means any judgment, decree, ruling, decision, opinion, injunction, assessment,
attachment, undertaking, award, charge, writ, executive order, judicial order, administrative
order or any other order of any Governmental Entity.

“Disclosure Schedule” has the meaning set forth in Article II.

“Employee Benefit Plan” means (a) any “employee benefit plan” (as such term is defined
in Section 3(3) of ERISA, whether or not subject to ERISA), (b) employment, consulting,
severance, termination protection, change in control, transaction bonus, retention or similar plan,
program, policy, practice agreement or arrangement and (c) any other plan, program, policy,
practice, agreement or arrangement providing for benefits or compensation of any kind,
including without lmitation bonuses, profit-sharmg, or other forms of incentive or deferred
compensation, vacation or paid time off benefits, msurance, medical, dental, vision, prescription
or fringe benefits, life insurance, disability or sick leave benefits or post-employment or
retirement benefits, m each case of clause (a), (b) and (c) above, sponsored, maintained,
contributed to or required to be contributed to by any Seller or any entity that together with any
Seller is, or at any time was, treated as a single employer under Section 414 of the Code or
Title TV of ERISA (“ERISA Affiliate”) or in which any Seller or any ERISA Affiliate
participates or participated, or with respect to which any Seller or any ERISA Affiliate has or
may have any lability, contingent or otherwise.

“Employee Roster” has the meaning set forth m Section 3.9(a).

“Environmental Laws” means all applicable Laws concerning pollution or protection of
the environment, human health and safety, and natural resources.

“ERISA” means the United States Employee Retirement Income Security Act of 1974.

“ERISA Affiliate” has the meaning set forth m the definition of “Employee Benefit
Plan”, as amended.

“Excluded Assets” has the meaning set forth in Section 2.2.

“Excluded Cash” is defmed in Section 2.1(a).

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“Excluded Employee” has the meaning set forth in Section 6.4(b).

“Excluded _ Liabilities” has the meaning set forth in Section 2.4.

“Excluded Restaurants” means any of Sellers’ restaurant locations with respect to which
the associated Leases have not been designated by Buyer as Assumed Contracts pursuant to

Section 2.6(b).
“Existing Escrows” has the meaning set forth in Section 2.1(a).

“Expense Reimbursement Amount” means Buyer’s and/or its Affiliates, as applicable,
reasonable costs and expenses related to pursuing, negotiating, and documenting the
Contemplated Transactions.

 

“Express Representations” has the meaning set forth in Section 4.7.
“Financial Statements” has the meaning set forth in Section 3.16.

“Former Employees” means all individuals who have been employed by the Sellers (or
any of their predecessors) who are not Current Employees.

“GAAP” means United States generally accepted accountng principles as m effect from
time to time, as consistently applied m accordance with Sellers’ historic practices.

“Governmental Entity’ means any United States federal, state or local or non-United
States governmental or regulatory authority, agency, commission, court, body or other
governmental entity.

“Hazardous Substance” means any toxic or hazardous material, substance or waste as to
which Liability or standards of conduct may be imposed under any Environmental Laws.

“Intellectual Property” means any and all nights, tit and mterest in or relating to
intellectual property of any type, which may exist or be created under the Laws of any
jurisdiction throughout the world, including: (a) patents and patent applications, together with all
reissues, continuations, continuations-in-part, divisionals, extensions and reexaminations in
connection therewith; (b) trademarks, service marks, brand names, Internet domain names, logos,
symbols, trade dress, assumed names, fictitious names, trade names, business names, product
names, social media accounts, URLs, and other indicia of origin, all applications and
registrations for all of the foregomg, and all goodwill associated therewith and symbolized
thereby (the items of this subclause (b) collectively, “Trademarks”); (c) rights associated with
works of authorship (including menus), including exclusive exploitation rights, mask work
rights, copyrights, database and design rights, whether or not registered or published, all
registrations and recordations thereof and applications in connection therewith, along with all
extensions and renewals thereof; (d) rights in electronic data processmg systems, information
management systems, recordkeeping systems, communications and telecommunications systems,
networking systems, account management systems, Internet websites and related content,
inventory management systems and other such apphcations, software, hardware, equipment and
services (including all firmware, applications and software installed on such hardware and

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equipment, and all associated databases, and related documentation); (e) trade secrets and
proprietary or confidential information relating to the Business (including recipes, methods,
ingredient lists, procedures, food and beverage preparation instructions and publications and
guidelines, menu formulation processes, standards, operation manuals, specifications, pictures,
drawings, mock-ups, prototypes, processes, ideas, formulae, compositions, know-how,
discoveries, inventions, designs, plans, proposals, technical data, financial, business and
marketing plans, price hsts, and customer and suppler lists and related information); and (f) all
other intellectual property rights related to the Busmess.

“Intellectual Property Assignments” has the meaning set forth in Section 2.9(a).

“Inventory” means all of Sellers’ now owned or hereafter (prior to the Closing) acquired
inventory and goods, wherever located, mcludng, without hmitation, consumable food,
alcoholic beverages (whether unopened or opened to the extent permitted by applicable Law),
and other beverages and raw materials and work-m-process therefor and all of Sellers’ tangible
property used in the preparation of, servmg, and cleaning up from, food and drinks, including
napkins, silverware, plates and dining ware, cups, glassware, mugs, cooking and cleaning
utensils, packaging materials, paper products, ingredients, miscellaneous consumables, materials,
supplies, inventories and other related items or that are otherwise included in the Purchased
Assets and are permitted to be sold and transferred under applicable Law.

“IRC” means the United States Internal Revenue Code of 1986, as amended.

“Law” means any federal, state, provincial, local, municipal, foreign or international,
multinational or other law, statute, legislation, constitution, prmciple of common law, resolution,
ordinance, code, edict, decree, proclamation, treaty, convention, rule, regulation, ruling,
directive, pronouncement, determination, decision, opinion or requirement issued, enacted,
adopted, promulgated, implemented or otherwise put into effect by or under the authority of any
Governmental Entity, or court of competent jurisdiction, or other legal requirement or rule of
law, including applicable building, zoning, subdivision, health and safety and other land use
Laws.

“Leased Real Property” means all (i) leasehold or sub-leasehold estates and other rights
to use or occupy any land, buildings, structures, improvements, fixtures or other mterest in real
property which is used m or otherwise related to the Business, including the right to all security
deposits, letters of credit and other amounts and instruments deposited by or on behalf of Sellers
thereunder, and (i) any buildings, structures, improvements and fixtures located on any Leased
Real Property which are owned by Seller, regardless of whether title to such buildings,
structures, improvements or fixtures are subject to reversion to the landlord or other third party
upon the expiration or termiation of the Lease for such Leased Real Property (“Leasehold

Improvements’’).

“Leasehold Improvements” has the meaning set forth m the definition of “Leased Real
Property.”

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“Leases” means all leases, subleases, licenses, concessions and other Contracts, including
all amendments, extensions, renewals, guaranties and other agreements with respect thereto, in
each case pursuant to which any Seller holds any Leased Real Property.

“Liability” means, as to any Person, any debt, Claim, hability (including any liability that
results from, relates to or arises out of tort or any other product liability claim), duty,
responsibility, obligation, commitment, assessment, cost, expense, loss, expenditure, charge, fee,
penalty, fine, contribution, or premium of any kind or nature whatsoever, whether known or
unknown, asserted or unasserted, absolute or contingent, direct or indirect, accrued or unaccrued,
liquidated or unliquidated, or due or to become due, and regardless of when sustained, incurred,
or asserted or when the relevant events occurred or circumstances existed.

“Lien” means any lien (as defined in Section 101(37) of the Bankruptcy Code),
encumbrance, right, demand, charge, mortgage, deed of trust, option, pledge, security interest or
similar mterests, title defects, hypothecations, easements, rights of way, encroachments,
judgments, conditional sale or other title retention agreements and other similar impositions,
imperfections or defects of title or restrictions on transfer or use (whether known or unknown,
secured or unsecured or in the nature of setoff or recoupment, choate or inchoate, filed or
unfiled, scheduled or unscheduled, noticed or unnoticed, recorded or unrecorded, perfected or
unperfected, allowed or disallowed, contingent or non-contingent, liquidated or unliquidated,
matured or unmatured, material or nonmaterial, disputed or undisputed, whether arising prior to
or subsequent to the commencement of the Chapter 1] Cases, and whether imposed by
agreement, understandmg, Law, equity, or otherwise, cluding claims otherwise arising under
doctrines of successor liability).

“Liquor Licenses” means all liquor licenses (including, without limitation, beer and wine
licenses) held or used by each Seller in respect of any Purchased Assets, including the Seller in
whose name such license is issued, date of issuance and renewal date.

“Liquor License Approvals” means the necessary Consents pertaining to the transfer
and/or issuance of any of the Liquor Licenses in respect of any Purchased Assets to Buyer.

 

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‘Litigation” means any action, cause of action, suit, claim, mvestigation, mediation,
arbitration, audit, grievance, demand, hearing, proceeding or imvestigation, whether civil,
criminal, administrative or arbitral, whether at law or m equity and whether before any
Governmental Entity, arbitrator or mediator.

“Major Suppliers” has the meaning set forth in Section 3.21.

“Management Agreement” means an agreement m the form as shall be reasonably
acceptable to Buyer and Sellers, and which provides, among other things, that all costs of
operations of the Purchased Assets from and after the Closmg Date shall be paid on a current
basis by Buyer and the economic benefit of the operations of the Purchased Assets accrues to
Buyer.

“Material Adverse Effect” means any change, event, effect, development, condition,
circumstance or occurrence (when taken together with all other changes, events, effects,
developments, conditions, circumstances or occurrences), that (a) has had, or would reasonably

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be expected to have, individually or in the aggregate, a material adverse effect on the Purchased
Assets (taken as a whole); provided, however, that no change, event, effect, development,
condition, circumstance or occurrence related to any of the following shall be deemed to
constitute, and none of the following shall be taken into account in determining whether there
has been a Material Adverse Effect: ( any effect resulting from the filmg, announcement, or
pendency of the Chapter 11 Cases, mcluding (1) any Seller’s mability to pay certain prepetition
obligations as a result of the commencement of such Chapter 11 Cases, (2) any Decree of the
Bankruptcy Court, (3) any action or omission of any Seller taken or not taken m order to avoid
violation of any Decree or objections of the Bankruptcy Court, or (4) any other effect, directly or
indirectly, related thereto; (ii) acts of war, armed hostilities, sabotage or terrorism, or any
escalation or worsening of any such acts of war, armed hostilities, sabotage or terrorism
threatened or underway as of the date of this Agreements, except to the extent that such change
has a materially disproportionate adverse effect on the Business relative to the adverse effect that
such changes have on other companies m the mdustry in which the Business operates;
(ii) changes in conditions in the U.S. or global economy or capital or financial markets
generally, including changes in interest or exchange rates, except to the extent that such change
has a materially disproportionate adverse effect on Business relative to the adverse effect that
such changes have on other companies m the industry in which the Busmess operates;
(iv) resultng from any act of God or other force majeure event (including natural disasters, or
any epidemic, pandemic or wide-spread disease outbreak (includng the COVID-19 virus
outbreak)); (v) changes in Law or m GAAP or imterpretations thereof; (vi) any actions taken by
Buyer or any of its Affiliates (other than those expressly permitted to be taken hereunder);
(vil) inaction by any Seller due to Buyer’s refusal to consent to a request for consent by Seller
under Section 5.3; (vi) the negotiation, announcement or pendency of this Agreement or the
consummation of the sale and assumption contemplated hereby, or the identity, nature or
ownership of Buyer; or (ix) the Business Cessation Event; provided, however, notwithstanding
anything herem to the contrary, a Decree issued after the date hereof that requires restaurants or
bars to close for dine-in business in any jurisdiction where a Continuing Restaurant is located
shall constitute a Material Adverse Effect; or (b) would reasonably be expected to prevent,
materially delay or materially mpair to the ability of any Seller to consummate the
Contemplated Transactions or the Related Agreements on the terms set forth herem and therein.

“Non-Real Property Contracts” means the Contracts to which any Seller is a party other
than the Leases.

“Offeree” has the meaning set forth in Section 6.4(a).

“Ordinary Course of Business” means the ordinary and usual course of business of
Sellers taken as a whole consistent with past custom and practice and taking into account the
commencement of the Chapter 11 Cases and the Debtors’ current distressed fmancial condition,
excluding from the ordinary and usual course of business, for the avoidance of doubt, any
modifications to the previous normal day-to-day operations of Sellers made m response to
COVID-19, or any similar or related disease caused by COVID-19, or any mutation or evolution
thereof, or any policies, guidelines or Laws enacted, directly or mdirectly, in response to the
same (including any “shelter-m-place”, “stay at home” or similar Decrees and the Cybersecurity
and Infrastructure Security Agency Critical Infrastructure Worker Guidance 2.0, as may be
amended, supplemented, updated or otherwise modified from time to time).

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“Organizational Documents” means, with respect to any entity, the certificate of
incorporation, articles of incorporation, certificate of formation, articles of organization, by-laws,
partnership agreement, limited liability company agreement, formation agreement and other
similar organizational documents of such entity (in each case, as amended through the date of
this Agreement).

“Outside Date” means August 31, 2020.
“Parties” has the meaning set forth nm the preamble.

“Permit” means any and all franchise, approval, permit (including environmental,
construction and operation permits), license, order, registration, certificate, variance, Consent,
exemption or similar right issued, granted, given or otherwise obtamed or required to be
obtained, from or by any Governmental Entity, under the authority thereof or pursuant to any
applicable Law.

“Permitted Liens” means (a) Liens for Taxes which are (i) being contested in good faith
by appropriate proceedings or (ii) not due and payable as of the Closmg Date and which shall be
prorated or otherwise released at Closing and, in each case of clauses (i) and (ii), for which
adequate reserves have been made on the Financial Statements to the extent required by GAAP;
(b) mechanics liens and similar liens for labor (excluding Liens arismg under ERISA or Code
Section 430), materials or supplies provided with respect to real property incurred in the
Ordmary Course of Business which are being contested in good faith by appropriate proceedings
for which adequate reserves have been made on the Financial Statements to the extent required
by GAAP and which shall be prorated or otherwise released at Closmg (mcluding, without
limitation, by virtue of the effect of the Sale Order); (c) with respect to real property, zoning,
building codes and other land use Laws regulating the use or occupancy of such real property or
the activities conducted thereon which are imposed by any Governmental Entity having
jurisdiction over such real property which are not violated by the current use or occupancy of
such real property or the operation of the Business, except where any such violation would not,
individually or in the aggregate, materially impair the use, operation or transfer of the affected
property or the conduct of the Business thereon as it is currently being conducted; (d) easements,
covenants, conditions, restrictions and other similar matters affecting title to real property and
other encroachments and title and survey defects, in each case that do not or would not
materially impair value or the use or occupancy of such real property or materially interfere with
the operation of the Business at such real property; (e) with respect to Leasehold Improvements,
any reversion or similar rights to the landlord or other third party upon expiration or termination
of the applicable Lease; (f) any Liens associated with or arising m connection with any Assumed
Liabilities, (g) Liens resultng from Credit Agreement Lenders’ and/or Buyer’s actions or
conduct upon or after the Closing, and (h) Liens that will be released or removed by operation of
the Sale Order (including, without limitation, Liens under Credit Agreement Loan Documents).

“Person” means an individual, a partnership, a corporation, a limited hability company,
an association, a joint stock company, a trust, a jomt venture, an unincorporated organization or
any other entity, includmg any Governmental Entity or any group or syndicate of any of the
foregoing.

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“Personal Property Leases” means all leases of personal property relating to personal
property used by Sellers or to which any Seller is a party or by which the properties or assets of
any Seller are bound, m eachcase relating to the Business.

 

“Petition Date” means the date of the filing of the Chapter 11 Cases.

“PII” means “personally identifiable mformation” withn the meaning = of
Section 101(41A) of the Bankruptcy Code.

“Plan” means a Chapter 11 plan or plans of reorganization or liquidation.

“PPP Cash” means cash received under the Coronavirus Aid, Relief and Economic
Security Act’s Paycheck Protection Program.

“Purchase Price” has the meaning set forth in Section 2.5(a).

“Purchased Assets” has the meaning set forth m Section 2.1; provided, however, that,
notwithstanding the foregoing or anything contained im this Agreement to the contrary, the
Purchased Assets shall not mclude any Excluded Assets or any asset held by any Seller pursuant
to any Lease or Personal Property Lease (a “Possessory Agreement”) unless the associated
Possessory Agreement is among the Assumed Contracts.

“Purchased Actions” means all causes of action, lawsuits, Claims, rights of recovery and
other similar rights of any Seller, whether known or unknown, foreseen or unforeseen, existing
or hereinafter arising, in law, in equity or otherwise (includmg any derivative Claims asserted or
that may be asserted on behalf of any Seller), (i) arismg under Chapter 5 of the Bankruptcy
Code, whether relating to the Business and the Purchased Assets or otherwise, or (il) against any
current or former officer or director of any Seller or any shareholder of any Seller or any
Affiliate of any Seller.

“Purchased Inventory” means Inventory that ts part of the Purchased Assets as set forth n
Section 2.1.

“Qualified Bid” means a written proposal provided to the Sellers for the purchase of
substantially all of Sellers’ assets that: (a) does not contam any financing or due diligence
contingencies; (b) is accompanied by reasonable evidence of committed financing or other
ability to perform; (c) is accompanied by a good-faith deposit equal to 10 percent of the
consideration proposed by such bidder; and (d) that is timely submitted by the bid deadline set
forth in the Biddmg Procedures Order. This Agreement shall be deemed a Qualified Bid.

“Qualified Bidder” means an entity that has entered into a confidentiality agreement with
Sellers and that Sellers in good faith and in their sole discretion determine (based on the
availability of financing and proof of financial ability, experience, and other relevant
considerations) is capable of consummating the purchase of the Business, if selected as the
successful bidder. The Buyer shall be deemed to be a Qualified Bidder.

“Recent Employee” has the meaning set forth mn Section 3.9(a).

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“Recipes” has the meaning set forth nm Section 2.1(x).

“Records” means the books, records, mformation, ledgers, files, mvoices, documents,
work papers, correspondence, lists (includmg customer lists, supplier lists and mailing lists),
plans (whether written, electronic or m any other medium), drawings, designs, specifications,
creative materials, advertising and promotional materials, marketing plans, studies, reports, data
and similar materials related to the Business.

“Registered” means issued by, registered with, renewed by or the subject of a pending
application before any Governmental Entity, domain name registrar, or social media site.

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‘Rejection Damages” means the amount of the distribution that the applicable landlord
under any Designated Contract would be entitled to under a Plan that the Bankruptcy Court has
confirmed and that has gone effective m the Chapter 11 Cases (with such calculation to be made
as if Sellers will not receive any proceeds from Buyer under this Agreement) solely for claims of
the applicable landlord for rejection of the applicable Designated Contract of real property that
are subject to section 502(b)(6)(A) of the Bankruptcy Code with the amount of such claims to be
subject to the limitations in section 502(b)(6)(A) of the Bankruptcy Code even if Sellers do not
object to such claims based on any applicable landlord’s filed claim exceeding such limitations
or the Bankruptcy Court does not adjudicate such claims.

“Related Agreements” means the Management Agreement, Bill of Sale, the Assignment
and Assumption Agreement and the Intellectual Property Assignments and any other instruments
of transfer and conveyance as may be required under applicable Law to convey valid title of the
Purchased Assets to Buyer.

“Related Party” means each officer or director of a Seller, each spouse, sibling, parent,
child, grandparent or grandchild of any director or officer of any Seller each trust for the benefit
of any of the foregoing, and each Affilate of any of the foregomg.

“Relief Proceeds” means, all rights of, or on behalf of, any Seller in respect of any
current or future disaster relief or other similar assistance program of any Governmental Entity in
respect of, or enacted in response to, the COVID-19 pandemic.

“Representative” means a Person’s officers, directors, managers, employees, advisors,
representatives (including its legal counsel and its accountants) and agents.

“Restaurant Petty Cash” means any petty cash of Sellers on the premises of any
Continuing Restaurant or Excluded Restaurant.

“Sale Hearing” means the hearing conducted in the Bankruptcy Court to seek approval of
the Sale Motion and the Contemplated Transactions.

“Sale Motion” means a motion filed by the Sellers with the Bankruptcy Court in
connection with the Chapter 11 Cases requestmg the entry of the Sale Order.

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“Sale Order” means an order of the Bankruptcy Court entered in the Chapter 11 Cases
consistent with the terms of this Agreement approving the Sale Motion and sale to Buyer
consistent with the terms of this Agreement in a form agreeable to Buyer.

“Sale Order Deadline” means August 28, 2020.
“Seller” or “Sellers” has the meaning set forth in the preamble.
“Seller Released Parties” has the meaning set forth in Section 5.9.

“Sellers” Knowledge” (or words of similar import) means the actual knowledge of Ned
Lidvall and Mark A. Sellers, HI, and the knowledge such person would have obtamed, as a
prudent business person, after making due imquiry with respect to the particular matter in
question.

“Sellers’ Rep” has the meaning set forth in Section 9.21.

“Service Provider” means each director, officer, employee, manager, independent
contractor, consultant, leased employee or other service provider of any Seller.

“Statutory Deadline” means the date that is one hundred twenty (120) days after the date
of commencement of the Chapter 11 Cases.

“Subsidiary” means, with respect to any Person, any corporation, limited liability
company, partnership, association or other business entity of which (a) if a corporation, a
majority of the total voting power of shares of stock entitled (without regard to the occurrence of
any contingency) to vote in the election of directors, managers or trustees thereof (or other
persons performing similar functions with respect to such corporation) is at the time owned or
controlled, directly or indirectly, by that Person or one or more of the other Subsidiaries of that
Person or a combination thereof, or (b) if a limited liability company, partnership, association or
other business entity (other than a corporation), a majority of partnership or other similar
ownership interest thereof is at the time owned or controlled, directly or indirectly, by that
Person or one or more Subsidiaries of that Person or a combination thereof and for this purpose,
a Person or Persons owns a majority ownership interest in such a business entity (other than a
corporation) if such Person or Persons shall be allocated a majority of such business entity’s
gains or losses or shall be or control any managing director, managing member, or general
partner of such business entity (other than a corporation). The term “Subsidiary” shall include
all Subsidiaries of such Subsidiary.

“Tax” or “Taxes” means any United States federal, state or local or non-United States
income, gross receipts, license, payroll, employment, excise, severance, stamp, occupation,
premium, windfall profits, environmental (including taxes under Section59A of the IRC),
customs duties, capital stock, franchise, profits, withholding, social security (or similar),
unemployment healthcare, disability, natural resources, entertamment, amusement, registration,
real property, personal property, ad valorem, escheat or unclaimed property (whether or not
considered a tax under applicable Law), sales, use, liquor, cigarette, transfer, value added,
alternative or add-on minimum, estimated or other tax of any kind whatsoever (however

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denominated), whether computed on a separate or consolidated, unitary or combined basis or in
any other manner, including any interest, penalty or addition thereto, whether or not disputed.

“Tax Return” means any return, declaration, report, clam for refund or information
return (including any related or supporting schedules, statements or information and Treasury
Form TD F 90-22.1 and FmCEN Form 114) or statement relating to Taxes, including any
schedule or attachment thereto, and mcluding any amendment thereof.

“Termination Event” has the meaning set forth n Section 8.1.

“Transfer Tax” means any stamp, documentary, registration, transfer, sales, use, added-
value or similar Tax (including any penalties and mterest thereon but excluding for the avoidance
of doubt any mcome Taxes) imposed under any applicable Law m connection with the
Contemplated Transactions.

“Transferred Employees” means all Offerees who accept offers prior to the Closing
pursuant to Section 6.4(a).

“Transferrmg Party” has the meaning set forth nm Section 5.1(c).

“Treasury Regulations” means regulations promulgated by the United States Department
of Treasury under the IRC.

“Wind-Down Budget” is defined in Section 2. l(a).

ARTICLE II
PURCHASE AND SALE

Section 2.1 Purchase and Sale of Purchased Assets. Pursuant to Sections 105, 363
and 365 of the Bankruptcy Code, on the terms and subject to the conditions set forth in this
Agreement (including, without limitation, Section 4.7 below), at the Closing, Buyer shall
purchase, acquire and accept from Sellers, and Sellers shall sell, transfer, assign, convey and
deliver to Buyer, all of the Sellers’ right, title and interest in, to and under the Purchased Assets,
free and clear of all Liens (other than Permitted Liens and any Liens included in the Assumed
Liabilities) to the extent provided in the Sale Order, for the consideration specified in
Section 2.5. “Purchased Assets” shall mean all of the direct or indirect right, title and interest of
Sellers in, to and under the tangible and intangible assets (including goodwill), properties, rights,
going concern value, claims and Contracts used, useful, or held for use m, or related to, the
Business (but excluding Excluded Assets) wherever situated and of whatever kind and nature,
real or personal, as of the Closing, including:

 

(a) all Cash and Cash equivalents of Sellers, mcludng Restaurant Petty
Cash, except for (i) PPP Cash, (u) cash that has otherwise been reserved or designated
by Decree of the Bankruptcy Court entered prior to the date hereof for utility deposits
(collectively, “Existing Escrows”) to the extent actually applied for such designated
purpose (it being expressly agreed that notwithstandmg anything to the contrary in
Section 2.2 below, any cash that reverts to the Sellers from any Existing Escrow shall
constitute a Purchased Asset), and (ii) in an aggregate amount needed to fund the

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wind-down budget set forth on Schedule 2.1(a) (as the same may hereafter be amended
from time to time with the prior written consent of Buyer, the “Wind-Down Budget”
and, the aggregate amount of such Cash and Cash Equivalents in the foregoing the
“Excluded Cash’); provided, that to the extent that Excluded Cash described herein
(after takmg mto account any Backstop Amount (as defined in Section 5.9 below)
actually funded to Sellers by Buyer that has not been used or applied for the purposes
required by Section 5.9 below prior to (and is not used or applied at) the Closing) is
insufficient to fund the entire Wind-Down Budget (the “Excluded Cash Deficiency
Amount”), Buyer shall fund the Excluded Cash Deficiency Amount to the Sellers at the
Closmg in accordance with Sections 2.5, 2.8(b)(i), and 5.9 (including, for the
avoidance of doubt, the limitations set forth therein) hereof;

(b) all bank accounts of Sellers, other than (i) the PPP Cash account, to the
extent such account holds Excluded Cash, or (ii) Existing Escrows (but including any
amounts reverting to the Sellers from such Existing Escrows);

(c) all Accounts Receivable of Sellers as of the Closing;
(d) all Credit Card Receivables;

(e) all Inventory of Sellers as of the Closing located at (or m Buyer’s
reasonable discretion movable and which is actually moved, at Buyer’s sole cost and
expense at any time prior to August 31, 2020 in accordance with Section 9.24 hereof to)
a Continuing Restaurant, including all rights of Sellers to receive such Inventory,
supplies and materials which are on order as of the Closing solely in respect of the
operation of a Contmuing Restaurant, but excluding alcoholic beverage Inventory in
Jurisdictions where the Law does not permit Buyer to take title to such Inventory until it
obtains the requisite Liquor License Approvals or other authorization from the
Bankruptcy Court or any other pertment Governmental Entity; provided, however,
Sellers shall promptly transfer, assign, convey and deliver (at Buyer’s sole cost and
expense) to Buyer such alcoholic beverage Inventories in each instance upon issuance
of the relevant Liquor License Approval or other authorization from the Bankruptcy
Court or relevant Governmental Entity;

(f) without duplication of the above, all deposits (including, without
limitation, deposits in transit, customer deposits and security deposits for rent,
electricity, telephone, utilities or otherwise) and other prepaid charges and expenses of
Sellers, including all amounts constituting Existing Escrows to the extent reverting to
the Sellers;

(g) all Assumed Contracts;
(h) all Intellectual Property owned by Sellers, but as to any Intellectual

Property which consists of a Possessory Agreement, only to the extent transfer or
assignment of such Intellectual Property is not prohibited by Law;

(i) all items of machinery, equipment, supplies, furniture, fixtures,
leasehold improvements (to the extent of Sellers’ rights to any Leasehold
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Improvements under the Leases that are Assumed Contracts) owned by Sellers as of the
Closing and related to (or to the extent movable and actually moved, at Buyer’s sole
cost and expense at any time prior to August 31, 2020 in accordance with Section 9.24
hereof to) the Continuing Restaurants;

(j) all Records, including Records related to (1) Taxes paid or payable by
any Seller related to the Business or the Purchased Assets (provided that Sellers are
entitled to retain copies of all Records and Buyer will make all such Records available
to Sellers upon request and at no charge), but excluding any materials exclusively
related to any Excluded Assets and (ii) eligibility to receive Relief Proceeds;

(k) all goodwill associated with the Busmess or the Purchased Assets,
including all goodwill associated with the Intellectual Property owned by Sellers and all
rights under any confidentiality agreements executed by any third party for the benefit
of any of Sellers to the extent relating to the Purchased Assets and/or the Assumed
Liabilities (or any portion thereof);

(I) all rights of Sellers under non-disclosure or confidentiality, noncompete,
or nonsolicitation agreements with Current Employees or Former Employees, directors,
consultants, independent contractors and agents of any of Sellers to the extent relating
to the Purchased Assets and/or the Assumed Liabilities (or any portion thereof);

(m) all of the Assumed Permits or, all of the rights and benefits accruing
under any Permits that are (i) related to the Continuing Restaurants, or (i) to the extent
related to the Excluded Restaurants, listed on Schedule 7.1, m each case of clauses (i)
and (ii), including all Liquor Licenses to the extent transferrable and held by Sellers,
other than alcohol permits (including Liquor Licenses) in jurisdictions where the Law
does not permit Buyer to take title to such Permits until it obtams the requisite
approvals or other authorization from the Bankruptcy Court or any other pertinent
Governmental Entity in which case Sellers shall transfer, assign convey and deliver to
Buyer such permits in each instance upon issuance of the requisite approvals from the
relevant Governmental Entity;

(n) all Liquor Licenses, to the extent transferable, associated with any
Excluded Restaurants not mcluded on Schedule 7.1 pursuant to Section 2.1(m), or
which the Sellers presently hold in safe keepmg, each at the sole cost and expense of
the Buyer;

(0) the amount of, and all rights to any, msurance proceeds received by any
of Sellers after the date hereof in respect of (1) the loss, destruction or condemnation of
any Purchased Assets, occurring prior to, on or after the Closmg, in each case to the
extent relating to loss, destruction or condemnation which has not been repaired or
restored prior to the Closing, or (ii) any Assumed Liabilities;

(p) all other rights, demands, claims, credits, allowances, rebates or other
refunds (excluding any vendor or supplier rebates) and rights in respect of promotional
allowances or rights of setoff and rights of recoupment of every kind and nature

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(whether or not known or unknown or contingent or non-contingent), other than against
Sellers, arising out of or relating to the Continuing Restaurants as of the Closing,
including all deposits (including customer deposits and security deposits (whether
maintained in escrow or otherwise) for rent, electricity, telephone or otherwise),
advances and prepayments, in each case to the extent the same relate to Continuing
Restaurants;

(q) all causes of action, lawsuits, judgments, claims, refunds, nghts of
recovery, rights of set-off, counterclaims, defenses, demands, warranty claims, rights to
indemnification, contribution, advancement of expenses or reimbursement, or similar
rights of any Seller (at any time or in any manner arising or existmg, whether choate or
inchoate, known or unknown, now existing or hereafter acquired, contingent or
noncontingent), including, without limitation, the Purchased Actions;

(r) all rights under or pursuant to all warranties, representations and
guarantees made by suppliers, manufacturers, contractors and any other Person to the
extent relating to equipment purchased, products sold, or services provided, to Sellers
or to the extent affectmg any Purchased Assets and/or Assumed Liabilities;

(s) all cars, trucks, forklifts, other industrial vehicles and other motor
vehicles set forth or described on Schedule 2.1(s);

(t) all of the Sellers’ telephone numbers, fax numbers, e-mail addresses,
websites, URLs and Internet domain names related to the Continuing Restaurants;

(u) the right to receive and retain mail relating to, Accounts Receivable
payments and other communications of Sellers and the right to bill and receive payment
for services performed but unbilled or unpaid as of the Closing;

(v) all rights arismg from (i) any refunds due from federal, state and/or local
Governmental Entities with respect to Taxes paid by Sellers or (11) Relief Proceeds;

(w) all of Sellers’ recipes, methods, procedures, cooking/preparation/mixing
publications, guidelines, or standards, knowhow, ingredient lists, menus, price lists,
nutritional, health, or dietary information, publications, or disclosures, and promotional
or informational materials, in each case whether related to food, beverages (whether
alcoholic or non-alcoholic), or otherwise (m each case, written or oral or in any other
form whatsoever) (collectively, “Recipes”); and

(x) all other assets that are related to or used mm connection with the
Purchased Assets or the Business (but excluding all of the Excluded Assets).

Section 2.2 Excluded Assets. Notwithstanding anything to the contrary m
Section 2.1, Buyer expressly understands and agrees that Buyer is not purchasmg or acquiring,
and Sellers are not selling or assigning, any of the followmg assets, properties and rights of
Sellers (collectively, the “Excluded Assets”’):

(a) (i) the Excluded Cash;

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